         Case 5:20-cv-00046-OLG Document 99 Filed 11/16/20 Page 1 of 2                      FILED
                                                                                     November 16, 2020
                                                                                     CLERK, U.S. DISTRICT COURT
                                                                                     WESTERN DISTRICT OF TEXAS

                             UNITED STATES DISTRICT COURT                                                        JU
                                                                                  BY: ________________________________
                              WESTERN DISTRICT OF TEXAS                                                   DEPUTY
                                 SAN ANTONIO DIVISION


JARROD STRINGER, NAYELI GOMEZ,                   )
JOHN HARMS, MOVE TEXAS                           )
CIVIC FUND, and LEAGUE OF WOMEN                  )
VOTERS OF TEXAS                                  )
                                                 )
               Plaintiffs                        )
and                                              )           CIVIL NO. SA-20-CV-46-OG
                                                 )
TEXAS DEMOCRATIC PARTY, DCCC,                    )
and DSCC                                         )
                                                 )
               Intervenor-Plaintiffs             )
                                                 )           CIVIL NO. SA-16-CV-257-OG
v.                                               )                   [Related]
                                                 )
RUTH HUGHS, in her official                      )
capacity as Texas Secretary of State             )
and STEVEN C. McCRAW, in his official            )
capacity as Director of the Texas Department     )
of Public Safety                                 )
                                                 )
               Defendants                        )

                                             ORDER

       On this date the Court considered the status of this case. The pending motions (docket

nos. 56, 50, 77) are taken under advisement. However, the Court will not rule on the pending

motions until the parties have mediated this case.

       Thus, it is ORDERED that the parties mediate all remaining claims in this case within 90

days from the date below. The preliminary injunction remains in full force and effect, but this

case is otherwise stayed for 90 days to allow the parties an opportunity to resolve all claims

herein. The parties shall file a written advisory with the Court after they have finished mediation


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advising whether the case has settled.

                       16th day of November, 2020.
       SIGNED on this _____


                                              ____________________________________
                                              ORLANDO L. GARCIA
                                              CHIEF U.S. DISTRICT JUDGE




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